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                        Exhibit 16
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   August 23, 2023

   Via E-mail (thesolutionprovider@gmail.com)

   Jason Saetrum
   Mental Steel, LLC
   191 West 1850 North
   Centerville, UT 84014

            Re:        SEC v. Digital Licensing Inc. (d/b/a “DEBT Box”), No. 2:23-cv-00482 (D. Utah)

   Dear Jason:

           Holland & Knight LLP represents Josias N. Dewey, the Temporary Receiver over
   Defendant Digital Licensing, Inc. (“DLI”) and its subsidiaries and affiliates (collectively,
   “Receivership Entities”) in the above captioned matter. Pursuant to the Temporary Receivership
   Order (“Order”), Mr. Dewey has certain powers, including “to assume full control of [DLI] by
   removing, as the receiver deems necessary or advisable, any director, officer, attorney,
   independent contractor, employee, or agent of any of [DLI] and its subsidiaries and affiliates . . .
   from control of, management of, or participation in, the affairs of [DLI.]” (Order § II(B)). Under
   this authority, and by this letter, Mr. Dewey removes you from any and all roles you previously
   held at or for DLI and its subsidiaries and affiliates.

           Additionally, the Order imposes obligations on you to, among other things (1) give access
   to and control to Mr. Dewey of all assets, collateral, books, records, papers or other property of or
   managed by the Receivership Entities; and (2) turn over to Mr. Dewey all account passwords,
   computer passwords, device PINs or passwords, or cryptographic keys—however possessed and
   wherever located—that hold, possess, or control any manner of the Receivership Entities’ assets.
   (Order §§ III–IV).

          We recognize you intend to retain counsel. When you have done so, your counsel is
   requested to contact us promptly. Until then, we request you identify all DLI entities for which
   you worked, your role and title at each, and all communications methods you used when you
   worked on behalf of DLI and its subsidiaries and affiliates.

                                                                     Sincerely,



                                                                     /s/ Scott Mascianica




   Atlanta | Austin | Birmingham | Boston | Century City | Charlotte | Chattanooga | Chicago | Dallas | Denver | Fort Lauderdale
   Houston | Jacksonville | Los Angeles | Miami | Nashville | Newport Beach | New York | Orlando | Philadelphia
   Portland | Richmond | San Francisco | Stamford | Tallahassee | Tampa | Tysons | Washington, D.C. | West Palm Beach
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   Jason Saetrum
   August 23, 2023
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   cc:     Josias N. Dewey, Esq.
           Jessica B. Magee, Esq.




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